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In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS

**********************
DAVID LANDIS,                            *
                                         *   No. 15-1562V
                    Petitioner,          *   Special Master Christian J. Moran
                                         *
v.                                       *   Filed: January 13, 2020
                                         *
SECRETARY OF HEALTH                      *   Attorneys’ Fees and Costs
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Dan W. Bolton, III, Bolton Law, PLLC, Cary, NC, for Petitioner;
Jennifer L. Reynaud, United States Dep’t of Justice, Washington, DC, for
Respondent.

                   UNPUBLISHED DECISION AWARDING
                     ATTORNEYS’ FEES AND COSTS1

       On September 4, 2019, petitioner David Landis moved for final attorneys’
fees and costs. He is awarded $16,184.44.



      1
         The undersigned intends to post this Ruling on the United States Court of
Federal Claims' website. This means the ruling will be available to anyone with
access to the internet. In accordance with Vaccine Rule 18(b), petitioner has 14
days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the
undersigned will redact such material from public access. Because this unpublished
ruling contains a reasoned explanation for the action in this case, the undersigned
is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services).
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                                    *     *       *

       On December 21, 2015, David Landis filed for compensation under the
Nation Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 through 34.
The petition alleged that a tetanus-diphtheria-acellular pertussis vaccine, which is
contained in the Vaccine Injury Table, 42 C.F.R. § 100.3(a), significantly
aggravated his preexisting osteoarthritis. Petitioner further alleged that he suffered
the residual effects of this injury for more than six months. On August 20, 2019,
the undersigned issued his decision denying compensation and dismissing the
petition.

       On September 4, 2019, petitioner filed a motion for final attorneys’ fees and
costs (“Fees App.”). Petitioner requests attorneys’ fees of $15,955.00 and
attorneys’ costs of $229.44 for a total request of $16,184.44. Fees App. at 1. On
September 5, 2019, respondent filed a response to petitioner’s motion. Respondent
argues that “[n]either the Vaccine Act nor Vaccine Rule 13 contemplates any role
for respondent in the resolution of a request by a petitioner for an award of
attorneys’ fees and costs.” Response at 1. Respondent adds, however that he “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are
met in this case.” Id at 2. Additionally, he recommends “that the special master
exercise his discretion” when determining a reasonable award for attorneys’ fees
and costs. Id. at 3. Petitioner did not file a reply thereafter.

                                    *     *       *
       Petitioners who have not been awarded compensation are eligible for an
award of attorneys’ fees and costs when “the petition was brought in good faith
and there was a reasonable basis for the claim.” 42 U.S.C.§300aa—15(e)(1).
Previously, the undersigned determined that good faith and reasonable basis
existed when awarding interim attorneys’ fees. See Landis v. Sec’y of Health &
Human Servs., No. 15-1562V, 2019 WL 1061516, at *2 (Fed. Cl. Spec. Mstr. Feb.
5, 2019). Respondent also agrees that the statutory requirements for an award of
attorneys’ fees and costs have been met in this case. Response at 4.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).

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Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.
       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)

      A.     Reasonable Hourly Rates

       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
was done outside of the District of Columbia.

       Petitioner requests that his counsel, Mr. Landis, be compensated at $250.00
per hour for attorney work and $100.00 per hour for paralegal work done in this
case. These rates are identical to what the undersigned previously awarded Mr.
Landis in the interim fees decision and shall be awarded herein. Landis, 2019 WL
1061516 at *2.

      B.     Reasonable Number of Hours

      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       Upon review of the submitted billing records, the undersigned finds the
billed hours to be reasonable. Accordingly, petitioner is entitled to the full amount
of attorney’s fees sought.

             C.    Costs Incurred



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      Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioner requests a total of
$229.44 in costs for travel to meet with petitioner and close out the case. The
undersigned finds these costs to be reasonable and shall award them in full.
      E.      Conclusion

      The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, I award a total of $16,184.44 (representing
$15,955.00 in attorneys’ fees and $229.44 in attorneys’ costs) as a lump sum in the
form of a check jointly payable to petitioner and petitioner’s counsel, Mr. Dan
Bolton, III.
       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.2


              IT IS SO ORDERED.


                                                   s/Christian J. Moran
                                                   Christian J. Moran
                                                   Special Master




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        Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment
by filing a joint notice renouncing their right to seek review.

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